              Case 19-13454-VFP                   Doc 1     Filed 02/19/19 Entered 02/19/19 21:34:07                               Desc Main
                                                            Document     Page 1 of 16
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Arsynco, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  Park 80 West - Plaza I
                                  250 Pehle Avenue
                                  Suite 601
                                  Saddle Brook, NJ 07663
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Bergen                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
              Case 19-13454-VFP                     Doc 1        Filed 02/19/19 Entered 02/19/19 21:34:07                             Desc Main
Debtor
                                                                 Document     Page 2 of Case
                                                                                         16 number (if known)
          Arsynco, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                         Case number
                                                 District                                  When                         Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See attached rider                                         Relationship
                                                 District   New Jersey                     When                        Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
                                                              Document     Page 3 of Case
                                                                                      16 number (if known)
         Arsynco, Inc.
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                             Document     Page 4 of Case
                                                                                     16 number (if known)
          Arsynco, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      02/19/2019
                                                  MM / DD / YYYY


                             X   /s/ Rebecca A. Roof                                                     Rebecca A. Roof
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Kenneth A. Rosen                                                     Date 02/19/2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Kenneth A. Rosen
                                 Printed name

                                 Lowenstein Sandler LLP
                                 Firm name

                                 One Lowenstein Drive
                                 Roseland, NJ 07068
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973.597.2500                  Email address      krosen@lowenstein.com


                                 NJ 002160-1979 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                            RIDER 1

                                      LIST OF DEBTORS


       On February 19, 2019, each of the affiliated entities listed below (the “Debtors”) filed a
voluntary petition for relief in this Court under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of their chapter 11 cases under the case number
assigned to the chapter 11 case of Aceto Corporation



Aceto Corporation
Aceto Agricultural Chemicals Corporation
Aceto Realty LLC
Rising Pharmaceuticals, Inc.
Rising Health, LLC
Acetris Health, LLC
PACK Pharmaceuticals, LLC
Arsynco, Inc.
Acci Realty Corp.




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02/18/2019 203606221.1
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 Fill in this information to identify the case:

 Debtor name         Arsynco, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                  (Official Form 204)
                  Other document that requires a declaration     List of Equity Holders and Statement of Corporate Ownership

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          02/19/2019                              X /s/ Rebecca A. Roof
                                                                       Signature of individual signing on behalf of debtor

                                                                       Rebecca A. Roof
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
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                                                                             Document     Page 7 of 16

Fill in this informa on to iden fy the case:
Fill in this informa on to iden fy the case:
Debtor Name: Aceto Corpora on, et al.
United States Bankruptcy Court for the: District of New Jersey                                                                                                    Check if this is an Amended Filing

CASE NUMBER (if known):


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Holding 30 Largest Unsecured Claims and Are Not Insiders 12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest
unsecured claims.

                                                                                                                                      Amount of claim
                                                                              Nature of claim (for example,    Indicate if claim is   If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially
                                                                              trade debts, bank loans,         contingent,            secured, fill in total claim amount and deduction for value of collateral or setoff to
Name of creditor and complete mailing address, including zip code
                                                                              professional services, and       unliquidated, or       calculate unsecured claim.
                                                                              government contracts)            disputed               Total claim, if partially     Deduction for value of
                                                                                                                                                                                                   Unsecured claim
                                                                                                                                      secured                       collateral or setoff
Citibank, N.A.
Address Listing #1:
480 Washington Blvd., 18th Floor Jersey City, N.J. 07310
Attention: Agency and Trust
                                                                              Unsecured Convertible Notes                                                                                                         $143,750,000
Address Listing #2:
388 Greenwich Street 14th Floor
New York, NY 10013
Attention: Agency & Trust

Aurobindo Pharma Ltd
                                                                              Trade Debt                                                                                                                            $40,979,501
6 Wheeling Road Dayton, NJ 08810 US

Thinq Pharma
                                                                              Trade Debt                                                                                                                             $7,495,726
111 North Bridge Road 16‐04 Peninsula Plaza 179098 SG

Aurolife Pharma LLC
                                                                              Trade Debt                                                                                                                             $6,660,474
6 Wheeling Road Dayton, NJ 08810 US

Walgreens ‐ FTS "Settlement"
                                                                              Customer Obligations                                                                                                                   $3,591,312
104 Wilmot Road, Ms# 1425 Deerfield, IL 60015 US

Apicore LLC
                                                                              Trade Debt                                                                                                                             $2,273,030
49 Napoleon Court Somerset, NJ 08873 US

Ricon Pharma LLC
                                                                              Trade Debt                                                                                                                             $1,798,862
100 Ford Road Suite 9 Denville, NJ 07834 US

Ingenus
                                                                              Trade Debt                                                                                                                             $1,368,910
140 New Dutch Lane Fairfield, NJ 07004 US

Natco Pharma Ltd
                                                                              Trade Debt                                                                                                                             $1,305,145
2 Road Banjara Hills Hyderabad 500034 IN

OIC, LLC.
                                                                              Trade Debt                                                                                                                             $1,023,215
7500 Flying Cloud Drive Eden Prairie, MN 55344 US

Lyne
                                                                              Trade Debt                                                                                                                               $953,900
10 Burke Drive Brockton, MA 02301 US

Validus Pharmaceutical
                                                                              Trade Debt                                                                                                                               $790,755
119 Cherry Hill Rd. Suite 310 Parsippany, NJ 07054 US

FDC LIMITED
                                                                              Trade Debt                                                                                                                               $690,775
142‐48 S.V. Road Jogeshwari (W) Mumbai 400 102 IN

Time‐Cap Labs Inc.
                                                                              Trade Debt                                                                                                                               $635,168
7 Michael Ave Farmingdale, NY 11735 US

BI Nutraceuticals
                                                                              Trade Debt                                                                                                                               $416,858
120 Hoffman Lane Willow Island, WV 26134 US

American Regent, Inc.
                                                                              Trade Debt                                                                                                                               $392,356
5 Ramsey Rd Shirley, NY 11967 US

Virupaksha Organics Ltd.
                                                                              Trade Debt                                                                                                                               $363,980
Village, Jinnaram Mandal Medak District Telangana 502319 IN

Divi's Laboratories Limited
                                                                              Trade Debt                                                                                                                               $348,000
Divi Towers 7‐1‐77/E/1/303 Dharam Karan Road Hanegev 85455 IN

Chem‐Inter Corporation
                                                                              Trade Debt                                                                                                                               $337,299
8‐4, 2‐Chome, Kanda Tsukasa‐ Cho Chidoda‐Ku Tokyo 10110048 JP

Contract Pharmacal Corp.
                                                                              Trade Debt                                                                                                                               $297,272
135 Adams Avenue Hauppauge, NY 11788 US




                                                                                              Petition View ‐ Filed Copy
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Fill in this informa on to iden fy the case:
Fill in this informa on to iden fy the case:
Debtor Name: Aceto Corpora on, et al.
United States Bankruptcy Court for the: District of New Jersey                                                                                                       Check if this is an Amended Filing

CASE NUMBER (if known):


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Holding 30 Largest Unsecured Claims and Are Not Insiders 12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest
unsecured claims.

                                                                                                                                         Amount of claim
                                                                                Nature of claim (for example,     Indicate if claim is   If the claim is fully unsecured, fill in only unsecured claim amount. If claim is partially
                                                                                trade debts, bank loans,          contingent,            secured, fill in total claim amount and deduction for value of collateral or setoff to
Name of creditor and complete mailing address, including zip code
                                                                                professional services, and        unliquidated, or       calculate unsecured claim.
                                                                                government contracts)             disputed               Total claim, if partially     Deduction for value of
                                                                                                                                                                                                      Unsecured claim
                                                                                                                                         secured                       collateral or setoff

Appco Pharma LLC
                                                                                Trade Debt                                                                                                                                $290,505
120 Belmont Drive Somerset, NJ 08873 US

United Phosphorous
                                                                                Trade Debt                                                                                                                                $288,792
630 Freedom Center King of Prussia, PA 19408 US

Invagen Pharmaceuticals, Inc
                                                                                Trade Debt                                                                                                                                $272,681
7 Oser Ave Hauppauge, NY 11788 US

Aurobindo Pharma USA
                                                                                Trade Debt                                                                                                                                $259,923
6 Wheeling Road Dayton, NJ 08810 US

Omnichem N.V.
                                                                                Trade Debt                                                                                                                                $259,387
Cooppallaan 91 Westerhorn 25364 DE

Archon Vitamin Corp.
                                                                                Trade Debt                                                                                                                                $256,022
3775 Park Ave. Unit 1 Edison., NJ 08820‐2505 US

Alembic Pharmaceuticals Limited
                                                                                Trade Debt                                                                                                                                $255,000
Alembic Road Vadodara Gujarat 390003 IN

Bodal Chemicals Ltd.
                                                                                Trade Debt                                                                                                                                $241,766
Plot No. 123‐124, Phase ‐I, Gidc, Vatva, Ahmedabad Gujarat 382445 IN

Murty
                                                                                Trade Debt                                                                                                                                $220,508
518 Codell Drive Lexington, KY 40509 US

Sakai Trading New York Inc.
                                                                                Trade Debt                                                                                                                                $213,010
10 Grand Central 155 East 44Th Street, 16th Floor New York, NY 10017 US



Footnotes
1. The information contained herein shall not constitute an admission of liability by, nor shall it be binding on, the Debtor. The information contained herein, including the failure by the
Debtor to list any claim as contingent, unliquidated or disputed, does not constitute a waiver of the Debtor’s right to contest the validity, priority or amount of any claim. Additionally, no
comprehensive legal and/or factual investigations with regard to possible defenses to any claims set forth in the “Consolidated List of Creditors Holding 30 Largest Unsecured Claims” have
been completed. Therefore, the listing does not and should not be deemed to constitute: (1) waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of any
listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




                                                                                                Petition View ‐ Filed Copy
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                                                                         District of New Jersey
 In re      Arsynco, Inc.                                                                                             Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Aceto Corporation                                                                                                               100% of equity interests
 4 Tri Harbor Court
 Port Washington, NY 11050


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true
and correct to the best of my information and belief.



 Date 02/19/2019                                                             Signature /s/ Rebecca A. Roof
                                                                                       Rebecca A. Roof
                                                                                       Chief Financial Officer

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Arsynco, Inc.                                                                              Case No.
                                                                                  Debtor(s)            Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULES 1007(a)(1) and 7007.1)

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1 and to enable the Judges to evaluate possible
disqualification or recusal, the undersigned counsel for Arsynco, Inc. in the above captioned action, certifies that the
following is a corporation that directly or indirectly owns 10% or more of any class of the corporation's equity interests, or
states that there are no entities to report under FRBP 1007 (a)(1) and 7007.1:



 Aceto Corporation
 4 Tri Harbor Court
 Port Washington, NY 11050




    None [Check if applicable]




 02/19/2019                                                            /s/ Kenneth A. Rosen
 Date                                                                  Kenneth A. Rosen
                                                                       Signature of Attorney
                                                                       Counsel for Arsynco, Inc.
                                                                       Lowenstein Sandler LLP
                                                                       One Lowenstein Drive
                                                                       Roseland, NJ 07068
                                                                       973.597.2500 Fax:973.597.2400




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                                         ARSYNCO, INC.

                                   OMNIBUS RESOLUTIONS

                                        February 17, 2019

        Effective as of the date written above, the undersigned members of the board of directors,
members (collectively, the “Board”) of Arsynco, Inc. (the “Company”) HEREBY CONSENT
to the taking of the following actions and HEREBY ADOPT the following resolutions by
unanimous written consent (this “Written Consent”) pursuant to the Company’s bylaws or
limited liability company agreement, as applicable, and the applicable laws of the jurisdiction in
which the Company is organized:

Chapter 11 Filing

         WHEREAS, the Board has considered presentations by the management and the
         financial, legal and other advisors of the Company regarding the financial condition,
         results of operations, cash flows, liquidity, prospects and other metrics relevant to the
         Company’s business, the strategic alternatives available to the Company and the effect of
         the foregoing on the Company; and

         WHEREAS, the Board has consulted with the management and the financial, legal and
         other advisors of the Company and fully considered each of the strategic alternatives
         available to the Company and the relative risks and benefits of pursuing a bankruptcy
         proceeding under the provisions of Chapter 11 of Title 11 of the United States Code (the
         “Bankruptcy Code”).

         NOW, THEREFORE, BE IT,

         RESOLVED, that, in the judgment of the Board, it is desirable and in the best interests
         of the Company, its creditors and other parties in interest, that the Company file or cause
         to be filed a voluntary petition for relief (the “Chapter 11 Case”) under Chapter 11 of the
         Bankruptcy Code in the United States Bankruptcy Court for the District of New Jersey
         (the “Bankruptcy Court”); AND BE IT FURTHER

         RESOLVED, that the officers of the Company (the “Authorized Officers”), be, and each
         of them hereby is, authorized to cause the Company to file such a voluntary petition in
         the Bankruptcy Court; AND BE IT FURTHER

         RESOLVED, that the Authorized Officers, be, and each of them hereby is, authorized,
         empowered and directed to execute and file on behalf of the Company all motions,
         papers, documents, or other filings, and to take any and all action that they deem
         necessary or proper to effect the foregoing resolutions, including, without limitation, any
         action necessary to maintain the ordinary course operation of the Company’s business;




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Retention of Professionals

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized
       and directed to cause the Company to employ, subject to Bankruptcy Court approval, the
       law firm of Lowenstein Sandler LLP (“Lowenstein”) as general bankruptcy counsel to
       represent and assist the Company in carrying out its duties under the Bankruptcy Code,
       and to take any and all actions to advance the Company’s rights and obligations,
       including the preparation and filing of any pleadings; and in connection therewith, each
       of the Authorized Officers, with power of delegation, is hereby authorized and directed to
       execute appropriate retention agreements, pay appropriate retainers, and cause to be filed
       an appropriate application for authority to retain the services of Lowenstein; AND BE IT
       FURTHER

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized
       and directed to cause the Company to employ, subject to Bankruptcy Court approval, the
       international law firm of Simmons & Simmons (“Simmons”) as special foreign counsel
       to represent and assist the Company in carrying out its duties in connection with possible
       foreign matters and proceedings related, directly or indirectly, to the Chapter 11 Case,
       and to take any and all actions to advance the Company’s rights and obligations in such
       foreign matters and proceedings, including filing any pleadings; and in connection
       therewith, each of the Authorized Officers, with power of delegation, is hereby
       authorized and directed to execute appropriate retention agreements, pay appropriate
       retainers, and cause to be filed an appropriate application for authority to retain the
       services of Simmons; AND BE IT FURTHER

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized
       and directed to cause the Company to employ, subject to Bankruptcy Court approval, the
       firm PJT Partners LP (“PJT”) as investment banker and financial advisor to, among other
       things, assist the Company in evaluating its business and prospects, developing a long-
       term business plan, developing financial data for evaluation by the Board, creditors, or
       other third parties, in each case, as requested by the Board or by management of the
       Company, evaluating the Company’s capital structure, responding to issues related to the
       Company’s financial liquidity, and assisting in any financing, sale, reorganization,
       business combination, or similar disposition of the Company’s assets; and in connection
       therewith, each of the Authorized Officers, with power of delegation, is hereby
       authorized and directed to execute appropriate retention agreements, pay appropriate
       retainers, and cause to be filed an appropriate application for authority to retain the
       services of PJT; AND BE IT FURTHER

       RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized
       and directed to cause the Company to employ, subject to Bankruptcy Court approval, the
       firm AP Services LLC (“APS”) to provide restructuring services including, among other
       things, providing the Company with a chief financial officer (“CFO”), Rebecca Roof,
       and additional personnel to support the CFO and assist the Company in evaluating its
       business and prospects, developing a business plan, developing financial data for
       evaluation by the Board, creditors, or other third parties, in each case, as requested by the
       Board or by management of the Company, evaluating the Company’s capital structure,


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      responding to issues related to the Company’s financial liquidity, and assist in any
      financing, sale, reorganization, business combination, or similar disposition of the
      Company’s assets; and in connection therewith, each of the Authorized Officers, with
      power of delegation, is hereby authorized and directed to execute appropriate retention
      agreements, pay appropriate retainers, and cause to be filed an appropriate application for
      authority to retain the services of APS; AND BE IT FURTHER

      RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized
      and directed to cause the Company to employ, subject to Bankruptcy Court approval, the
      firm of Prime Clerk (“Prime Clerk”) as notice and claims agent and administrative
      advisor to represent and assist the Company in carrying out its duties under the
      Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
      obligations; and in connection therewith, each of the Authorized Officers, with power of
      delegation, is hereby authorized and directed to execute appropriate retention agreements,
      pay appropriate retainers, and cause to be filed appropriate applications for authority to
      retain the services of Prime Clerk; AND BE IT FURTHER

      RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized
      and directed to cause the Company to employ, subject to Bankruptcy Court approval, any
      other professionals to assist the Company in carrying out its duties under the Bankruptcy
      Code; and in connection therewith, each of the Authorized Officers, with power of
      delegation, is hereby authorized and directed to execute appropriate retention agreements,
      pay appropriate retainers and fees, and cause to be filed an appropriate application for
      authority to retain the services of any other professionals as necessary; AND BE IT
      FURTHER

      RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
      delegation, authorized, empowered and directed to execute and file all petitions,
      schedules, motions, lists, applications, pleadings, and other papers and, in connection
      therewith, to employ and retain all assistance by legal counsel, accountants, financial
      advisors, and other professionals and to take and perform any and all further acts and
      deeds that such Authorized Officer deems necessary, proper, or desirable in connection
      with the Company’s Chapter 11 Case, with a view to the successful prosecution of such
      case;

General

      RESOLVED, that, in addition to the specific authorizations heretofore conferred upon
      each of the Authorized Officers, the Authorized Officers be, and each of them hereby is,
      authorized and empowered, in the name of and on behalf of the Company, to take or
      cause to be taken any and all such other and further actions, and to execute, acknowledge,
      deliver and file any and all such agreements, certificates, instruments and other
      documents and to pay all expenses, including but not limited to filing fees, in each case as
      in such Authorized Officer’s judgment, shall be necessary, advisable or desirable in order
      to fully carry out the intent and accomplish the purposes of the resolutions adopted
      herein;



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     RESOLVED, that all acts, actions and transactions relating to the matters contemplated
     by the foregoing resolutions done in the name of and on behalf of the Company, which
     acts would have been approved by the foregoing resolutions except that such acts were
     taken before the adoption of these resolutions, are hereby in all respects approved and
     ratified as the true acts and deeds of the Company with the same force and effect as if
     each such act, transaction, agreement or certificate has been specifically authorized in
     advance by resolution of the Board; and

     RESOLVED, that the Authorized Officers (and their designees and delegates) be, and
     each of them hereby is, authorized and empowered to take all actions, or to not take any
     action in the name of the Company, with respect to all matters contemplated by these
     resolutions, as such Authorized Officer shall deem necessary or desirable in such
     Authorized Officer’s reasonable business judgment, as may be necessary or convenient to
     effectuate the purposes of the foregoing resolutions.


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